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United States District Court for the District of Columbia to Wit:

Conrad Smith et al.,
Plaintiff,

vs. Case Number: 21-cv-02265-APM

Donald J. Trump et al.,
Defendant.

Declaration of Return by Private Process Server

The undersigned hereby certifies that valid service of process was executed upon Ali Alexander
a/k/a Ali Abdul Razaq Akbar a/k/a Ali Abdul Akbar on the 9" day of December, 2021 at 6:10
p.m., at 200 C Street SW, Washington, DC 20024 by personally delivering and leaving a copy of
the following document with Ali Alexander: 1) Summons in a Civil Action; 2) Civil Cover Sheet;
3) Notice of Right to Consent to Trial Before a United States Magistrate Judge; 4) Amended
Complaint.

Ali Alexander is described as: a slim, dark-skinned male, approximately 5’9” tall. He wore a dark

coat, glasses, and a thin mustache at the time of service.

THE UNDERSIGNED CERTIFIES HE IS NOT A PARTY TO THIS ACTION AND IS OVER

THE AGE OF EIGHTEEN (18) YEARS.

I DO SOLEMNLY DECLARE AND AFFIRM UNDER THE PENALTIES OF PERJURY THAT

THE CONTENTS OF THE FOREGOING DOCUMENT ARE TRUE AND CORRECT.

 

 

Travis McLeod, Investigator

Dinolt Becnel & Wells Investigative Group, LLC
927 S. Walter Reed Drive, Suite 27

Arlington, VA 22204

703-892-3700

Date: December 10, 2021
